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                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
 In re:                             §
                                    §    Case No: 6:23-cv-00002
 ARTHUR JACOB BRASS,                §    Bankruptcy Case No: 21-60025
                                    §
        Debtor.                     §
                                    §
                                    §
 VITOL INC.                         §
                                    §
 v.                                 §    Adversary No. 21-06006
                                    §
 ARTHUR JACOB BRASS                 §

                                  NOTICE OF CROSS-APPEAL

         Vitol Inc. (“Vitol”) hereby files this Notice of Cross-Appeal, and would respectfully show

the Court as follows:

         1.     Vitol is the Appellee in the above-referenced matter, and the Plaintiff in the

underlying bankruptcy adversary proceeding.

         2.     Vitol cross-appeals the Bankruptcy Court’s findings of fact with respect to Vitol’s

award of damages in the Court’s Judgment and Order dated December 21, 2022 [Dkt. No. 208].

         3.     This cross-appeal is to the United States District Court for the Southern District of

Texas.

         4.     The Parties to the Appeal are:

                    a. Vitol, Inc.               Keith M. Aurzada (SBN 24009880)
                                                 Omar J. Alaniz (SBN 24040402)
                                                 Taylre C. Janak (SBN 24122751)
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                                         -and-

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                   b. Arthur J. Brass:   Johnie Patterson
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Dated: January 18, 2023                           Respectfully Submitted,
                                                  By: /s/ Omar J. Alaniz
                                                  Keith M. Aurzada (SBN 24009880)
                                                  Omar J. Alaniz (SBN 24040402)
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                                                        Attorneys for Vitol, Inc.



                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 18, 2023, a true and correct copy of the forgoing document
was served via the Court’s Electronic Case Filing (ECF) system to all parties registered to receive
electronic notices in this appeal, including counsel for Arthur J. Brass.


                                                     /s/ Omar. J. Alaniz
                                                         Omar J. Alaniz




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